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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED ST ATES OF AMERICA,                   §
                                             §
              Plaintiff,                     §
v.                                           §
                                                          EP-20-CR-00389-DCG
                                             §
PATRICK WOOD CRUSIUS,                        §
                                             §
              Defendant.                     §

                                           ORDER

      The Court ORDERS the parties to MEET AND CONFER to agree on a deadline for the
Government to file a notice under 18 U.S.C. § 3593(a). The parties SHALL FILE their
proposed deadline by September 16, 2022.    ,,-
      So ORDERED and SIGNED this        L   day of September 2022 .




                                             .UNITED STATES DISTRICT JUDGE
